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 9
10                      UNITED STATES DISTRICT COURT
11                     CENTRAL DISTRICT OF CALIFORNIA
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                                SOUTHERN DIVISION
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14   STEVEN RUPP, et al.,                  Case No.: 8:17-cv-00746-JLS-JDE
15                           Plaintiffs,   NOTICE OF MOTION AND MOTION
16                                         FOR LEAVE TO FILE
                 vs.                       SUPPLEMENTAL DECLARATION
17                                         OF DENNIS MARTIN IN SUPPORT
     XAVIER BECERRA, in his official       OF PLAINTIFFS’ MOTION FOR
18   capacity as Attorney General of the   PRELIMINARY INJUNCTION;
19   State of California,                  MEMORANDUM OF POINTS &
                                           AUTHORITIES IN SUPPORT
20                           Defendants.
                                           Hearing Date: March 9, 2018
21                                         Hearing Time: 2:30 p.m.
22                                         Judge:        Josephine L. Staton
                                           Courtroom:    10A
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          MOTION FOR LEAVE TO FILE SUPPLEMENTAL DECLARATION
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 1                        NOTICE OF MOTION AND MOTION
 2 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 3       PLEASE TAKE NOTICE that on March 9, 2018 at 2:30 p.m. in courtroom
 4 10A of the above-captioned court, located at 411 West Fourth Street, Santa Ana,
 5 California 92701, unless the Court selects a different day or finds a hearing on this
 6 motion is unnecessary, Plaintiffs will move this Court for an order granting Plaintiffs
 7 leave to file a supplemental declaration by Plaintiff Dennis Martin in support of
 8 Plaintiffs’ Motion for Preliminary Injunction, a true and correct copy of which is
 9 attached as Exhibit A. Plaintiffs’ proposed supplemental filing seeks to bring to the
10 Court’s attention relevant facts that have arisen after briefing and hearing of
11 Plaintiffs’ Motion for Preliminary Injunction and which may impact the Court’s
12 analysis in deciding whether to grant preliminary relief.
13       Plaintiffs’ counsel sent a true and correct copy of Martin’s proposed
14 supplemental declaration to Defendant’s counsel, Mr. Peter Chang, on January 31,
15 2018, via electronic mail, along with an inquiry as to whether Defendant would
16 oppose this motion. Decl. Sean A. Brady Supp. Mot. Leave File (“Brady Decl.”) ¶ 2.
17 On February 2, 2018, Mr. Chang responded that Defendant was reconsidering
18 whether to oppose and requested a copy of the motion, which Plaintiffs’ counsel
19 provided to him on February 5, 2018. Brady Decl. ¶¶ 3, 4. Defendant’s counsel, Mr.
20 Chang, confirmed on February 6, 2018 that Defendant will oppose this motion.
21 Brady Decl. ¶ 5.
22
23 Dated: February 6, 2018                        MICHEL & ASSOCIATES, P.C.
24
25                                                /s/Sean A. Brady
                                                  Sean A. Brady
26                                                Attorneys for Plaintiffs
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  1                  MEMORANDUM OF POINTS & AUTHORITIES
  2                                    BACKGROUND
  3           On September 11, 2017, Plaintiffs filed their First Amended Complaint for
  4 Declaratory and Injunctive Relief, asserting claims under the Second Amendment,
  5 the Takings Clause, and the Due Process Clause.
  6           On October 5, 2017, Defendant California Attorney General Xavier Becerra
  7 filed a Partial Motion to Dismiss Plaintiffs’ Due Process Clause and Takings Clause
  8 Claims. Plaintiffs filed their memorandum opposing that motion on November 9,
  9 2017.
 10           On November 14, 2017, Plaintiffs filed their Motion for Preliminary
 11 Injunction and supporting papers (“MPI”), seeking the very limited relief of
 12 enjoining California Penal Code section 30900(b)(3)’s requirement that an “assault
 13 weapon” registration application include the date the firearm was acquired and the
 14 name and address of the person or entity from whom the firearm was acquired (the
 15 “date and source”). Plaintiffs allege that provision violates the Second Amendment,
 16 the Takings Clause, and the Due Process Clause because some “assault weapon”
 17 owners, including Plaintiff Dennis Martin, neither possess nor are able to procure
 18 such information and thus cannot register by the mandatory July 1, 2018 deadline to
 19 do so. Mem. P. & A. Supp. Pls.’ Mot. Prelim. Inj. at 19-20. In support of the MPI,
 20 Plaintiffs also filed, among others, a sworn declaration from Martin, stating he does
 21 not have and cannot procure the date and source information. See Decl. Dennis
 22 Martin Supp. Pls.’ Mot. Prelim. Inj. (“Martin Decl.”) ¶¶ 5-7.
 23           On November 22, 2017, Defendant filed his opposition to Plaintiffs’ MPI,
 24 arguing that Plaintiff Martin did not have standing to challenge the date and source
 25 requirement because Martin had “not even attempt[ed] to register his weapon and
 26 provided no details regarding what efforts, if any, he made to ascertain the date and
 27 source information.” Def.’s Opp’n Mot. Prelim. Inj. at 7. In response, Plaintiffs
 28 argued that binding authority holding that one cannot be denied standing for failure


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  1 to take a futile action—such as applying for a permit that would not have been
  2 granted—relieves Plaintiff Martin of any duty to attempt registration without having
  3 the required date and source requirement in order to have standing. Pls.’ Reply Def.’s
  4 Opp’n Mot. Prelim. Inj. at 8. Plaintiffs also provided rebuttal argument to
  5 Defendant’s claim that Martin could acquire the date and source information for his
  6 firearms from third parties. Id. at 9-12.
  7            Both Defendant’s Partial Motion to Dismiss and Plaintiffs’ MPI came
  8 before this Court for a hearing on December 22, 2017. The Court took both matters
  9 under submission. However, during the hearing, this Court expressed concerns about
 10 Plaintiff Martin’s standing based on the reasons Defendant raised. Mr. Martin has
 11 since the hearing attempted to register two firearms that qualify as “assault weapons”
 12 in which registrations he describes his situation of being unable to acquire the date
 13 and source information. Martin now wishes to supplement his previous declaration in
 14 support of the MPI with his account of what transpired with those registration
 15 attempts, as they potentially address the Court’s concerns raised at the hearing. That
 16 account is found in paragraphs 7-10 of Martin’s proposed supplemental declaration,
 17 attached as Exhibit A; all other paragraphs remain unchanged from Martin’s original
 18 declaration, but may be renumbered. Brady Decl. ¶ 7.
 19                                  ARGUMENT
 20            Allowing Plaintiffs leave to file Plaintiff Martin’s supplemental declaration
 21 is equitable and will conserve not only judicial resources but those of all parties too,
 22 while causing Defendant no undue prejudice. For these reasons, explained in more
 23 detail below, the Court should grant Plaintiffs’ motion for such leave.
 24           Because Mr. Martin had a good faith belief that his registration would
 25 necessarily be denied—for not possessing the date and source information required
 26 to register—and he, therefore, did not need to attempt to register in order to have
 27 standing, his failure to do so prior to learning this Court’s concerns at the hearing
 28 should not preclude admission of his experience in doing so after the hearing. What’s


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  1 more, there is a fast-approaching registration deadline of July 1, 2018, that will make
  2 the relief Plaintiffs’ seek in the MPI moot. As such, waiting to bring these new facts
  3 to the Court’s attention in a subsequent motion may not be an option, which would
  4 mean Plaintiffs have no options for obtaining relief.
  5           Even if time allowed for Plaintiffs to submit the new facts about Martin’s
  6 experience attempting to register in a subsequent filing, the Court would benefit from
  7 allowing it into the record now. If the new facts contained in the proposed
  8 supplemental declaration alter the legal analysis of whether the MPI should be
  9 granted, the Court can address those impacts now, instead of writing an opinion
 10 based on an obsolete set of facts and having to conduct its analysis all over again
 11 (assuming time permits) when Plaintiffs refile their MPI with, or file a motion for
 12 reconsideration based on, the updated declaration. Such a duplication of work for the
 13 Court would be a waste of its resources, as well as of those of the parties.
 14           Defendant will not be prejudiced by the Court’s acceptance of this
 15 supplemental declaration, as it only reports Martin’s experience in attempting to
 16 register with the California Department of Justice, which Defendant oversees. There
 17 are no surprises here because Defendant had full control over how Martin’s
 18 registration was processed. Moreover, Plaintiffs do not object to Defendant being
 19 permitted to file a response to Martin’s proposed declaration.
 20       For these reasons, Plaintiffs hereby respectfully request that this Court grant
 21 them leave to file the Supplemental Declaration of Dennis Martin, attached hereto as
 22 Exhibit A.
 23
 24 Dated: February 6, 2018                        MICHEL & ASSOCIATES, P.C.
 25
 26                                                /s/Sean A. Brady
                                                   Sean A. Brady
 27                                                Attorneys for Plaintiffs
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            MOTION FOR LEAVE TO FILE SUPPLEMENTAL DECLARATION
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                         EXHIBIT A
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                              UNITED STATES DISTRICT COURT
 9
10                            CENTRAL DISTRICT OF CALIFORNIA

11                                    SOUTHERN DIVISION
12
     STEVEN RUPP, et al.,                        Case No: 8:17-cv-00746-JLS-JDE
13
                                 Plaintiffs,     SUPPLEMENTAL DECLARATION
14
                         v.                      OF DENNIS MARTIN IN SUPPORT
15                                               OF PLAINTIFFS’ MOTION FOR
16   XAVIER BECERRA, in his official             PRELIMINARY INJUNCTION
17   capacity as Attorney General of the State
     of California,                              Hearing Date: December 22, 2017
18                                               Hearing Time: 2:30 p.m.
                                 Defendant.      Courtroom:    10A
19                                               Judge:        Hon. Josephine L. Staton
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                   SUPPLEMENTAL DECLARATION OF DENNIS MARTIN
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 1                           DECLARATION OF DENNIS MARTIN
 2      1.     I, DENNIS MARTIN, am a plaintiff in the above-entitled action. I make this
 3   declaration of my own personal knowledge and, if called as a witness, I could and would
 4   testify competently to the truth of the matters set forth herein.
 5      2.     I am a current resident of Kern County, California.
 6      3.     I am a law-abiding citizen of the United States who is not prohibited from
 7   owning firearms under the laws of the United States or the state of California. I have
 8   never been found by any law enforcement agency, any court, or any other government
 9   agency to be irresponsible, unsafe, or negligent with firearms in any manner.
10      4.     I own a semi-automatic, center-fire rifle that does not have a fixed magazine,
11   but does have a pistol grip, flash suppressor, and adjustable stock, making it an “assault
12   weapon” under California Penal Code section 30515, subdivision (a)(1). I own this
13   firearm for lawful purposes, including self-defense.
14      5.     I do not know, and have no readily available source to discover: (1) the exact
15   date I acquired my “assault weapon”; or (2) the name or address of the individual or
16   business from whom I acquired it.
17      6.     At the time I acquired my “assault weapon,” I was not legally required to
18   maintain a record of information concerning the date of acquisition or the name or
19   address of the individual or business from whom I acquired it. I am unable to locate any
20   record of my purchase of the “assault weapon” containing such information.
21      7.     Despite, after reviewing my files and electronic correspondence, being unable
22   to locate any records concerning the acquisition of my “assault weapons,” I attempted to
23   register one of my firearms as an “assault weapon” using the California Department of
24   Justice’s (“DOJ”) California Firearms Application Reporting System (“CFARS”), on
25   January 9, 2018. The CFARS application required me to provide the date I acquired the
26   firearm and the name and address of the person or business from whom I acquired it. I
27   supplied an approximate date for acquisition of “2012” in the “Date Acquired” field on
28   the “assault weapon” registration form. And, because I do not know from whom or where


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                   SUPPLEMENTAL DECLARATION OF DENNIS MARTIN
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 1   I acquired this firearm, I did not select an option from the “Acquired From” field. In the
 2   “Comments” field, I noted that I “[d]o not recall nor have receipts from where this
 3   firearm was purchased.” A true and correct copy of the information I provided in my
 4   application is attached as Exhibit A.
 5      8.    After completing all other required fields in the “assault weapon” application
 6   form, I attempted to submit the registration application using the above described
 7   descriptions. DOJ’s CFARS rejected my submission, stating the “Date Acquired” was
 8   “incorrectly formatted” and should be formatted as “mm/dd/yyyy.” The rejection also
 9   stated that the “Acquired From” field is “required.” See Exhibit A.
10      9.    I also attempted to register another firearm as an “assault weapon” on January
11   14, 2018, using CFARS. Once again, I was required to provide the date I acquired the
12   firearm and the name and address of the person or business from whom I acquired it. For
13   this particular firearm, I know that it was acquired via a private party transaction, which
14   transfer a California licensed firearms dealer processed, but I do not know when that
15   transaction occurred, the name of the seller, or the California licensed firearms dealer
16   who processed the transaction, nor can I find such information after reviewing my
17   records and electronic correspondence. Because I lacked this information, I entered
18   “unknown” for the “Date Acquired,” “Private Party Name,” “Street Address,” and “Zip
19   Code” fields. I also stated that the “[f]irearm was purchased from a private party a
20   number of years ago” and “[t]ransfer information no longer available” in the
21   “Comments” field of the application. A true and correct copy of the information I
22   provided in my application is attached as Exhibit B.
23      10.   After completing all other required fields in the “assault weapon” application
24   form, I attempted to submit the registration application using the above descriptions.
25   DOJ’s CFARS rejected my submission, once again stating the “Date Acquired” was
26   “incorrectly formatted” and should be formatted as “mm/dd/yyyy.” The rejection also
27   stated that the “Zip Code” field for the private party seller information “must be 5
28   numbers.” See Exhibit B.


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                   SUPPLEMENTAL DECLARATION OF DENNIS MARTIN
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 1       11.      Because I do not know the exact date I acquired my “assault weapons” or the
2     address of the individual or business from whom I acquired it, I cannot meet the
3     requirement to provide such information in order to register it under California Penal
4     Code section 30900, subdivision (b)(3). To avoid risking criminal prosecution for
 5    possession of an unregistered “assault weapon,” I will dispossess myself of any “assault
 6    weapon” prior to July 1,2018.
 7       12.      But for being unable to meet California Penal Code section 30900, subdivision
 8    (b)(3)’s requirements to provide the exact date I acquired my “assault weapon” and the
 9    address of the individual or business from whom I acquired it, I would register my
10    “assault weapon” and continue to possess it.
11             I declare under penalty of perjury that the foregoing is true and correct. Executed
12    within the United States on January 31, 2018.




                                                          Dennis Martin
16                                                        Declarant
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                       SUPPLEMENTAL DECLARATION OF DENNIS MARTIN
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                                   EXHIBIT A
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                                   EXHIBIT B
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 1                              CERTIFICATE OF SERVICE
 2                      IN THE UNITED STATES DISTRICT COURT
 3                         CENTRAL DISTRICT OF CALIFORNIA
 4                                   SOUTHERN DIVISION
 5
      Case Name: Rupp, et al. v. Becerra
 6
      Case No.: 8:17-cv-00746-JLS-JDE
 7
 8    IT IS HEREBY CERTIFIED THAT:

 9           I, the undersigned, am a citizen of the United States and am at least eighteen
10    years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
      Beach, California 90802.
11
12           I am not a party to the above-entitled action. I have caused service of:

           NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE
14    SUPPLEMENTAL DECLARATION OF DENNIS MARTIN IN SUPPORT 01
15         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION;
           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT
16
17    on the following party by electronically filing the foregoing with the Clerk of the
      District Court using its ECF System, which electronically notifies them.
18
 19   Xavier Becerra
20    Attorney General of California
      Peter H. Chang
21    Deputy Attorney General
22    455 Golden Gate Ave., Suite 11000
      San Francisco, CA 94102
23    E-mail: peter.chang@doj.ca.gov
24
             I declare under penalty of perjury that the foregoing is true and correct.
25
26    Executed February 6, 2018.
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